      Case 8:16-cv-00746-R-SS Document 7 Filed 05/02/16 Page 1 of 3 Page ID #:17



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6

7    Attorneys for Plaintiffs
8
                         UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10
     ANTHONY MENICHIELLO and            )        Case No. 8:16-cv-00746-R-SS
11   DENMAR CONSULTING INC., dba )
12   MARTIN & ASSOCIATES,               )        NOTICE OF VOLUNTARY
     Individually, And On Behalf Of All )        DISMISSAL WITHOUT
13
     Others Similarly Situated,         )        PREJUDICE
14                                      )
                        Plaintiff,      )
15
     v.                                 )
16                                      )
17
     BIZFI.COM, MERCHANT CASH )
     AND CAPITAL, LLC, and DOES 1 )
18   through 10, inclusive              )
19                                      )
                        Defendant.      )
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                                    Notice of Dismissal - 1
      Case 8:16-cv-00746-R-SS Document 7 Filed 05/02/16 Page 2 of 3 Page ID #:18



1
           NOTICE IS HEREBY GIVEN that Plaintiffs, pursuant to Federal Rule of
2
     Civil Procedure 41(a)(1), hereby voluntarily dismiss the entire case without
3
     prejudice. Defendants have neither answered Plaintiffs’ Complaint, nor filed a
4
     motion for summary judgment. Although this case was filed as a class action, no
5
     class has been certified, and court approval of this voluntary dismissal is therefore
6
     not required under Rule 23(a) of the Federal Rules of Civil Procedure.
7

8
           RESPECTFULLY SUBMITTED this 2nd day of May, 2016.
9

10
                               By:    s/Todd M. Friedman
11                                    Todd M. Friedman, Esq.
12
                                      Law Offices of Todd M. Friedman, P.C.
                                      Attorney for Plaintiff
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                                        Notice of Dismissal - 2
      Case 8:16-cv-00746-R-SS Document 7 Filed 05/02/16 Page 3 of 3 Page ID #:19



1    Filed electronically on this 2nd day of May, 2016, with:
2
     United States District Court CM/ECF system
3

4    And hereby served upon all parties
5
     Notification sent on this 2nd day of May, 2016, via the ECF system to:
6

7    Honorable Manuel L. Real
     United States District Court
8
     Central District of California
9

10

11

12   This 2nd day of May, 2016.
     By: s/Todd M. Friedman
13
         Todd M. Friedman
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                                       Notice of Dismissal - 3
